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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                CASE NO. 21-20005-CR-GAYLES

  UNITED STATES OF AMERICA

  v.

  ALBERICO AHIAS CRESPO,

                 Defendant.
                                                    /

                                       NOTICE OF FILING

         COMES NOW, the United States of America, by and through its undersigned attorney,

  and respectfully files this Notice of Filing Sentencing Records. Attached to this Notice are

  records and items relating to Defendant Crespo’s Filing of Additional Character Letters (DE 311,

  311-1). In his filing, Defendant Crespo submits a letter from “Nicholas Palmeri (Former DEA

  Regional Director of North and Central America)” (id.).

         Mr. Palmeri’s letter in support of Defendant Crespo, which is included twice (DE 311-1

  at 2-3, 26-27), should be disregarded in its entirety. Attached, please find materials pertaining to

  Mr. Palmeri’s misconduct while serving with DEA, including 2022 findings which would have

  resulted, but for his last-second voluntary retirement, in Mr. Palmeri’s termination and removal

  from DEA and federal service for: 1) Failure to Follow Instructions; 2) Lack of Candor; 3)

  Conduct Unbecoming; and 4) Poor Judgment.




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                                           Respectfully submitted,

                                           MARKENZY LAPOINTE
                                           UNITED STATES ATTORNEY

                                    BY:    s/ Sean T. McLaughlin
                                           SEAN T. MCLAUGHLIN
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                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on January 23, 2024, I electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF.


                                                  /s Sean T. McLaughlin
                                                  SEAN T. McLAUGHLIN
                                                  Assistant United States Attorney




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